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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


             UNITED STATES OF AMERICA               :
                                                    :
                                                    :
                   v.                               :    CRIMINAL ACTION NO.
                                                    :    1:09-CR-0361-13-RWS
             JOSE EDENILSON-REYES,                  :
                                                    :
                         Defendant.                 :



                                                ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [298] of Magistrate Judge Alan J. Baverman. After

             reviewing the Report and Recommendation and the Objections [300] thereto,

             the Report and Recommendation is received with approval and adopted as the

             Opinion and Order of this Court. Accordingly, Defendant’s Motions to

             Suppress [175 and 188] are hereby DENIED.

                   SO ORDERED this 20th         day of January, 2011.



                                                   ________________________________
                                                   RICHARD W. STORY
                                                   United States District Judge




AO 72A
(Rev.8/82)
